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  12                        UNITED STATES DISTRICT COURT
  13                      CENTRAL DISTRICT OF CALIFORNIA
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  15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
  16   ANTITRUST LITIGATION
                                                SECOND STIPULATION
  17                                            REGARDING DEPOSITIONS
                                                AFTER FACT DISCOVERY
  18                                            CUTOFF
  19   THIS DOCUMENT RELATES TO ALL
       ACTIONS
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   1          WHEREAS, fact discovery in this action is set to conclude on August 5,
   2   2022 (Dkt. No. 434 at 5);
   3          WHEREAS, for several months, the parties have been working diligently and
   4   in good faith to schedule depositions and conclude discovery prior to the Court’s
   5   fact-discovery cutoff;
   6          WHEREAS, the parties anticipate that they will have completed 25 or more
   7   depositions prior to the fact discovery cutoff;
   8          WHEREAS, the Court has Ordered that a few specified depositions may
   9   occur after the fact-discovery cutoff (Dkt. No. 532);
  10          WHEREAS, the parties believe that portions of one additional deposition
  11   will need to be conducted after the fact discovery cutoff, subject to the Court’s
  12   approval, and that such deposition may be conducted without otherwise affecting
  13   the Court’s schedule in this case;
  14   Comcast Corporation Rule 30(b)(6) Deposition
  15          WHEREAS, on May 25, 2022, Plaintiffs served on Comcast Corporation a
  16   deposition subpoena to testify in the present action pursuant to Rule 30(b)(6) of the
  17   Federal Rules of Civil Procedure;
  18          WHEREAS, Plaintiffs and Comcast Corporation have reached an agreement
  19   regarding such a deposition, including with respect to topics and witnesses;
  20          WHEREAS, Comcast Corporation has designated two witnesses to testify on
  21   its behalf;
  22          WHEREAS, counsel for Comcast Corporation have attempted to schedule
  23   depositions for both witnesses designated pursuant to Rule 30(b)(6) prior to the fact
  24   discovery cutoff, but scheduling conflicts have made it impracticable to do so;
  25          WHEREAS, the Rule 30(b)(6) deposition of Comcast Corporation currently
  26   is scheduled to take place on August 3, 2022, and August 16, 2022;
  27          WHEREAS, Plaintiffs and the NFL Defendants do not object, subject to the
  28   Court’s approval, to complete the Rule 30(b)(6) deposition of Comcast Corporation
       after the fact discovery cutoff.
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   1         THEREFORE, it is hereby stipulated and agreed by and between the
   2   undersigned parties, subject to approval by the Court, that:
   3         1.     The deposition of Comcast Corporation to be taken pursuant to Rule
   4   30(b)(6) of the Federal Rules of Civil Procedure may be completed after the fact-
   5   discovery cutoff of August 5, 2022.
   6         2.     Other than permitting the discovery described above after the August
   7   5, 2022 fact-discovery cutoff, all remaining deadlines in this case shall remain
   8   unchanged.
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          Dated: July 29, 2022                         Respectfully submitted,
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  12                                          By:      /s Kevin Trainer
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       All signatories listed, and on whose behalf the filing is submitted, concur in the
       filing’s content and have authorized the filing.
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